                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   (DANVILLE DIVISION)


  UNITED STATES OF AMERICA                        )
                                                  )
  v.                                              )       Case Number: 4:18CR00011-04
                                                  )
  DASHAUN LAMAR TRENT                             )


   DEFENDANT’S OBJECTIONS TO CERTAIN GOVERNMENT’S PROPOSED TRIAL
                              EXHIBITS

          COMES NOW your defendant, Dashaun Lamar Trent, by counsel, and respectfully moves

  this Honorable Court for entry of an Order sustaining the defendant’s objection(s) to the following

  proposed government trial exhibits:1, 2 through 23, 24, 25, 26 through 72, 73, 182, 263, 298, and

  299 through 315 and states the following in support thereof:,

          (1)     Government’s Exhibits 1 through 23 are objected to on grounds of relevancy pursuant

  to Federal Rules of Evidence (FRE) 402 and, in the case of Government Exhibit 1, also hearsay

  pursuant to FRE 802. This group of exhibits appear to deal with shooting at a house that occurred

  on December 8, 2015, at 177 Sunset Drive, Danville Virginia 24540. The First Superseding

  Indictment alleges, inter alia, 3 distinct shooting incidents: June 15, 2016 [ attempted murder

  Armonti Devine Womack ]; August 20, 2016 [murder of Christopher Lamont Motley and attmepted

  murder of Justion Wilson]; and August 24, 2016 [attempted murder of Tyliek Conway]. These

  exhibits, on their face, appear to be totally unrelated to the alleged acts set forth in the Superseding

  Indictment and the objection to their introduction into evidence should be sustained. Finally,




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  Government Exhibit 1 is a thirty-one page police report and its introduction into evidence is objected

  to on grounds of hearsay in violation of FRE 802.1

          (2)      Government’s Exhibits 24 through 72 are objected to on grounds of relevancy

  pursuant to Federal Rules of Evidence (FRE) 402 and, in the case of Government Exhibits 24 and

  25, hearsay pursuant to FRE 802. This group of exhibits appear to deal with shooting at a house that

  occurred on April 26, 2016, at 44 Garland Street, Danville Virginia 24541. The First Superseding

  Indictment alleges, inter alia, 3 distinct shooting incidents: June 15, 2016 [ attempted murder

  Armonti Devine Womack ]; August 20, 2016 [murder of Christopher Lamont Motley and attmepted

  murder of Justion Wilson]; and August 24, 2016 [attempted murder of Tyliek Conway]. These

  exhibits, on their face, appear to be totally unrelated to the alleged acts set forth in the Superseding

  Indictment and the objection to their introduction into evidence should be sustained. Government

  Exhibits 24 and 25 are each police reports (twenty-three and twenty-eight pages) and their

  introduction into evidence is also objected to on grounds of hearsay in violation of FRE 802.

          (3)     Government Exhibit 73 is a twenty-seven page police report which deals with a

  shooting at 111 North Hills Court, Danville VA 24154 on June 16, 2016. This shooting forms the

  basis of Counts TWO through NINE inclusive in the Superseding Indictment. The admission into

  evidence of Government Exhibit 73 is objected on grounds of hearsay in violation of FRE 802.

          (4)     Government Exhibit 182 is a one-hundred-fifteen page police report which deals with

  a shooting at 124 North Hills Court, Danville, VA 24154 on August 20, 2016. This shooting forms

  the basis of Counts TEN through FIFTEEN inclusive in the Superseding Indictment. The admission

  into evidence of Government Exhibit 182 is objected on grounds of hearsay in violation of FRE 802.

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                 After consultation with and concurrence by counsel for the United States, your
  defendant, by counsel, will provide to the Court a binder containing copies of the government
  exhibits to which objection is made in this motion in order to maintain the integrity of the discovery.



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         (5)     Government Exhibit 263 is a twenty-one page police report which deals with a

  shooting at 767 ColquhounSt./Jefferson Street, Danville, VA 24154 on August 24, 2016. This

  shooting forms the basis of Counts SIXTEEN through NINETEEN inclusive in the Superseding

  Indictment. The admission into evidence of Government Exhibit 182 is objected on grounds of

  hearsay in violation of FRE 802.

         (6)     Government Exhibit 298 is a forty-two page police report dealing with a traffic

  encounter on November 2, 2016, at 767 ColquhounSt./Jefferson Street, Danville, VA 24154,

  between three Danville City police officers and four individuals identified under the heading of

  “Suspect List” as: Kevin Lamont Trent, Jr., Kanas Lamont’e Trent, Dashaun Lamar Trent, and

  Phillip DaeKwon Miles. The incident appears to unrelated to any count of the Superseding

  Indictment. The admission into evidence of Government Exhibit 298 is objected on grounds of

  hearsay in violation of FRE 802 and relevance in violation of FRE 402.

         (7)     Government Exhibits 299 through 315 inclusive are related to the incident which is

  the subject of Government Exhibit 298. The admission into evidence of Government Exbits 299

  through 315 are objected to on grounds of relevance in violation of FRE 402.

         WHEREFORE, your defendant respectfully moves this Honorable Court for entry of an

  Order sustaining the defendant’s objection(s) to the following proposed government trial exhibits:

  1, 2 through 23, 24, 25, 26 through 72, 73, 182, 263, 298, and 299 through 315.



                                                      Respectfully submitted,

                                                      DASHAUN LAMAR TRENT

                                                      By /s/   Chris K. Kowalczuk




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  Christopher K. Kowalczuk, Esquire
  P. O. Box 11971
  Roanoke, VA 24022
  (540) 345-0101
         Counsel for the Defendant

  Patrick J. Kenney, Esquire
  P.O. Box 599
  Roanoke, VA 24004
  (540) 491-0423
          Counsel for the Defendant

                                     CERTIFICATE OF SERVICE

         I, Christopher K. Kowalczuk, Esquire, hereby certify that on this 19th day of July, 2019, I

  electronically filed the foregoing with the Clerk of the Court using the CM/ECF system which will

  send notification of such filing to all counsel of record.

                                                         /s/   Chris K. Kowalczuk




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